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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                                                                 S1 23 Cr. 118 (AT)
                 -against-
                                                                 PROPOSED ORDER
 HO WAN KWOK and YANPING WANG,

                            Defendants.




        WHEREAS, the Court and the parties seek to ensure that defendants Ho Wan Kwok,

 a/k/a “Miles Kwok,” a/k/a “Miles Guo,” a/k/a “Guo Wengui,” a/k/a “Brother Seven,” a/k/a “The

 Principal” (“KWOK”) and Yanping Wang, a/k/a “Yvette” (“WANG”) have meaningful access

 to review discovery and other case materials while detained at the Metropolitan Detention

 Center, Brooklyn (“MDC”); and

        WHEREAS, the Court seeks to ensure that such discovery access does not jeopardize

 the security and operational interests of the MDC Brooklyn;

        IT IS HEREBY ORDERED that

            1. KWOK and WANG may each have access to his or her own “air-gapped” laptop

computer (each, the “Laptop”) that is disabled from accessing the internet, local area networks, or

other electronic devices;

            2. Upon receipt of an acceptable laptop computer from counsel for each defendant, the

Government shall (a) ensure that each the laptop is appropriately “air gapped” and compatible with

the MDC Brooklyn’s security requirements; (b) load each Laptop with the non-sensitive discovery

in this case; and (c) deliver each Laptop to the proper authorities at the MDC Brooklyn;

            3. Each Laptop shall be password-protected and maintained in a location acceptable to

Bureau of Prisons personnel;

            4. Bureau of Prisons personnel will provide each defendant with access to the Laptop
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each weekday in the visiting room, Monday to Friday;

              5. This Order remains in effect until the trial in this matter is completed and a copy of

this Order shall be made available to any unit where KWOK or WANG is housed;

              6. Each defendant shall execute an agreement setting forth his or her understanding

that he or she may use the Laptop for the sole purpose of reviewing discovery and legal materials

that relate to the above-captioned criminal case, that he or she shall not share the Laptop or the

materials loaded onto the Laptop with other inmates or with any attorney not appointed to this case

without an order of this Court, that he or she will not access or attempt to access the internet or any

form of wireless communication, and that he or she will forfeit his or her right under this Order to

use the Laptop—and that each defendant may expose himself or herself to criminal prosecution for

possessing or distributing a “prohibited object” as that term is defined in 18 U.S.C. § 1791(d) in

the future—should he or she violate any of these understandings; and

              7. Within seventy-two hours of MDC Brooklyn’s receipt of each Laptop from the

Government, each defendant shall receive access to his or her Laptop subject to the following

conditions:

                     a. Upon request to his or her unit, each defendant will be brought to the

visiting room during the weekday (with an effort to provide access on a daily basis, if requested);

and

                     b. Each defendant shall not have possession of any charging apparatus or cord

that connects to the Laptop.

 Dated:          New York, New York
                 June ____, 2023                 SO ORDERED



                                                 The Honorable Analisa Torres
                                                 United States District Court
                                                 Southern District of New York
